          Case 3:20-cv-00249-JM Document 10 Filed 11/09/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             NORTHERN DIVISION

VERNON FLETCHER                                                               PLAINTIFF

V.                            CASE NO. 3:20-CV-249-JM-BD

JOHN BALORY and
JOHN CATER                                                                 DEFENDANTS

                                          ORDER

       The Court has received a Recommendation for dismissal from Magistrate Judge

Beth Deere. Mr. Fletcher has not filed objections. After careful review of the file, the

Court concludes that the Recommendation should be, and hereby is, approved and

adopted as this Court’s findings in its entirety.

       Mr. Fletcher’s claims are DISMISSED, without prejudice, based on his failure to

comply with the Court’s September 16 Order and his failure to prosecute this lawsuit. The

Clerk is directed to close this case.

       IT IS SO ORDERED, this 9th day of November, 2020.


                                                    _______________________________
                                                    UNITED STATES DISTRICT JUDGE
